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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                             CASE NO.: 1:07-CR-021-SPM

LUIS MATA-MORENO,
LUIS ANTONIO BUJANDA-CALLEJAS,

             Defendants.

________________________________/

            ORDER GRANTING MOTION TO CONTINUE SENTENCING

       THIS CAUSE comes before the Court on the Defendant’s "Motion to Continue

Sentencing” (doc. 180). As grounds, Defendant Mata-Moreno states the need for

both Defendants to finalize their substantial assistance to the Government. Both

Defendants request that the sentencing be continued for sixty (60) days. Neither co-

counsel Robert Rush nor the Government opposes the granting of this motion.

       It is hereby ORDERED AND ADJUDGED as follows:

       1.    Defendant’s motion to continue (doc. 180) is granted.

       2.    Defendant’s sentencing is reset for Monday, August 4, 2008 at 1:30

             p.m.

       DONE AND ORDERED this thirtieth day of May, 2008.



                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
